               Case MDL No. 2975 Document 4 Filed 10/02/20 Page 1 of 6



                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION


IN RE: NATIONAL SKI PASS
INSURANCE LITIGATION                                                                     MDL No. 2955


                                        TRANSFER ORDER


         Before the Panel: Plaintiff in the Eastern District of Arkansas Bradley action moves under 28
U.S.C. § 1407 to centralize this litigation involving insurance claims under policies issued by two
competing insurers that were purchased alongside seasonal or multi-day ski passes. The passes covered
skiing at properties affiliated with two different resorts (Vail and Alterra) that were closed in response
to the COVID-19 pandemic. Plaintiff seeks centralization in the Eastern District of Arkansas or,
alternatively, the Southern District of West Virginia. Plaintiff’s motion included seven actions pending
in six districts, as listed on Schedules A and B, as well as five potential tag-along actions in five
districts.1

        The parties’ positions on centralization vary. Responding defendants oppose an industry-wide
MDL. Arch Insurance Company and Out of Towne, LLC d/b/a Red Sky Travel (collectively, Arch)
oppose industry-wide centralization, but they support an Arch-only MDL in the District of New Jersey.
USIC defendants2 argue that if a USIC-only MDL is created over their opposition, it should be
centralized in the Northern District of California.

        At oral argument, moving plaintiff stated that he no longer seeks centralization on an industry-
wide basis. Instead, plaintiff suggests that we create an Arch-only MDL in the Western District of
Missouri and a USIC-only MDL in the Eastern District of Arkansas. Plaintiff in the District of Utah
Mair potential tag-along action (against USIC) supports industry-wide centralization in Eastern District
of Arkansas, or alternatively centralization of USIC claims in the same district. Responding plaintiffs
in five cases oppose industry-wide centralization. Plaintiffs in the Western District of Missouri Rossi
action (against Arch) and the District Colorado Hoak action (against USIC) support centralization of
Arch actions in the Western District of Missouri and USIC actions in the District of Colorado. Plaintiff
in the District of New Jersey Osborn action (against Arch) supports centralization of actions against
Arch in the District of New Jersey. Plaintiffs in the Northern District of California Hunt action (against
USIC) support a USIC-only MDL in that district, and an Arch-only MDL in the District of New Jersey.



    1
      These actions, and any other related actions, are potential tag-along actions. See Panel Rules
 1.1(h), 7.1 and 7.2.
    2
      United Specialty Insurance Company, broker Beecher Carlson Insurance Services, LLC , and
 claims processor American Claims Management Inc. (collectively, USIC).
               Case MDL No. 2975 Document 4 Filed 10/02/20 Page 2 of 6



                                                   -2-

Plaintiff in the Western District of Texas Tourgee action (against USIC) supports creation of a USIC-
only MDL in the Eastern District of Arkansas.

        After considering the argument of counsel,3 we find that few efficiencies would be gained by
creating an industry-wide MDL that combines claims against the USIC and Arch defendants. Any
general factual commonality across the actions appears to be superficial at best. We view requests to
centralize claims filed against multiple, competing defendants in a single MDL with a skeptical eye
because doing so usually adds few efficiencies and does not serve the convenience of the parties and
witnesses. See, e.g., In re: Yellow Brass Plumbing Component Prods. Liab. Litig., 844 F. Supp. 2d 1377
(J.P.M.L. 2012) (denying centralization, noting “we are typically hesitant to centralize litigation against
multiple, competing defendants which marketed, manufactured and sold similar products”).

        Moving plaintiff abandoned his request for industry-wide centralization, but plaintiff in a
potential tag-along action in the District of Utah (Mair) still supports it. Defendants Arch and USIC are
separate businesses that sold different, albeit similar, policies covering the Vail (USIC) and Alterra
(Arch) ski passes. There are no allegations of a conspiracy and no defendant is named in an action
alongside its competitor. Despite a common precipitating event – the COVID-19-related closure of ski
resorts – creating an MDL for all defendants would seem to complicate rather than streamline pretrial
proceedings. Plaintiff has not persuaded us that an industry-wide MDL is necessary, or even desirable,
so we deny this request.

        We do find merit however in the parties’ request for the creation of defendant-specific MDLs,
against Arch and USIC because the respective actions against these defendants involve common
questions of fact. Centralization of actions against Arch in the Western District of Missouri and actions
against USIC in the Northern District of California will serve the convenience of the parties and
witnesses and promote the just and efficient conduct of the litigation. The actions against each
defendant involve common factual issues arising from putative and overlapping nationwide or statewide
class actions alleging that the insurers wrongfully denied policy holders’ claims following the closure
of ski resorts as a result of the COVID-19 pandemic. Centralization will eliminate duplicative
discovery; avoid inconsistent pretrial rulings, particularly on class certification; and conserve the
resources of the parties, their counsel and the judiciary.

         While some plaintiffs and USIC have suggested Section 1404 transfer or motions under the first-
to-file rule as an alternative to centralization, no such motions have been filed to date. Attorneys for
plaintiffs in two actions state they have reached out to other plaintiffs’ counsel in an effort to achieve
informal coordination, but those efforts do not appear to have been productive. Given the number of
suggested transferee districts and competing counsel, it does not seem that the parties have arrived upon
a single forum in which they agree to proceed. This stands in contrast to the resolution the parties
reached in the withdrawn motion to centralize in MDL No. 2943 – In re: National Ski Pass Refund


    3
    In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard oral
 argument by videoconference at its hearing session of September 24, 2020. See Suppl. Notice of
 Hearing Session, MDL No. 2955 (J.P.M.L. September 8, 2020), ECF No. 68.
               Case MDL No. 2975 Document 4 Filed 10/02/20 Page 3 of 6



                                                   -3-

Litigation. There plaintiffs all agreed to proceed with their claims seeking refunds from ski resorts Vail
and Alterra in the District of Colorado. Most plaintiffs here and Arch support creation of an Arch-only
MDL. USIC prefers informal coordination of the claims against it. But there are now six actions
pending against it in as many districts, which makes the process of coordinating the USIC actions more
complicated. In these circumstances, centralization is appropriate.

        We are persuaded that the Western District of Missouri, where two cases are pending against
Arch, is an appropriate transferee district. Arch is a Missouri corporation with its principal place of
business in the District of New Jersey. We are confident that Judge Brian C. Wimes, who has not yet
had the opportunity to preside over an MDL, will steer this litigation on a prudent course.

        We are persuaded that the Northern District of California, where a USIC action is pending and
where USIC’s claims processor American Claims Management Inc., is based, is an appropriate
transferee district. USIC alternatively supports centralization in this district. Centralization before
Judge Yvonne Gonzalez Rogers allows us to assign this litigation to an able jurist who has experience
presiding over complex, multidistrict litigation.

      IT IS THEREFORE ORDERED that centralization of the actions listed on Schedule A and
Schedule B in a single docket is DENIED.

        IT IS FURTHER ORDERED that the actions listed on Schedule A and pending outside the
Western District of Missouri are transferred to the Western District of Missouri and, with the consent
of that court, assigned to the Honorable Brian C. Wimes, for coordinated or consolidated pretrial
proceedings with the actions pending there and listed on Schedule A.

       IT IS FURTHER ORDERED that the actions listed on Schedule B and pending outside the
Northern District of California are transferred to the Northern District of California and, with the
consent of that court, assigned to the Honorable Yvonne Gonzalez Rogers for coordinated or
consolidated pretrial proceedings with the action pending there and listed on Schedule B.

        IT IS FURTHER ORDERED that the caption of the litigation listed on Schedule A against Arch
is hereby renamed as In re: Arch Insurance Company Ski Pass Insurance Litigation and shall proceed
as MDL No. 2955.
              Case MDL No. 2975 Document 4 Filed 10/02/20 Page 4 of 6



                                               -4-

        IT IS FURTHER ORDERED that the caption of the litigation listed on Schedule B against USIC
is hereby renamed as In re: United Specialty Insurance Company Ski Pass Insurance Litigation and
shall proceed as MDL No. 2975.

                                     PANEL ON MULTIDISTRICT LITIGATION




                                                     Karen K. Caldwell
                                                           Chair

                                    Ellen Segal Huvelle          R. David Proctor
                                    Catherine D. Perry           Nathaniel M. Gorton
                                    Matthew F. Kennelly          David C. Norton
          Case MDL No. 2975 Document 4 Filed 10/02/20 Page 5 of 6



IN RE: NATIONAL SKI PASS
INSURANCE LITIGATION                                            MDL No. 2955


                                     SCHEDULE A


            Western District of Missouri

     ROSSI v. ARCH INSURANCE COMPANY, C.A. No. 4:20!00411
     JACKSON v. ARCH INSURANCE COMPANY, ET AL., C.A. No. 4:20!00496

            District of New Jersey

     OSBORN v. ARCH INSURANCE COMPANY, ET AL., C.A. No. 2:20!06345

            District of Utah

     PARKER v. ARCH INSURANCE, ET AL., C.A. No. 2:20!00377
          Case MDL No. 2975 Document 4 Filed 10/02/20 Page 6 of 6



IN RE: NATIONAL SKI PASS
INSURANCE LITIGATION                                            MDL No. 2955


                                     SCHEDULE B


            Eastern District of Arkansas

     BRADLEY v. UNITED SPECIALTY INSURANCE COMPANY,
       C.A. No. 4:20!00520

            Northern District of California

     HUNT v. THE VAIL CORPORATION, C.A. No. 4:20!02463

            District of Colorado

     HOAK v. UNITED SPECIALTY INSURANCE COMPANY, C.A. No. 1:20!01152
